291 F.2d 676
    UNITED STATES of America ex rel. YIP CHEUNG FONG, Relator-Appellant,v.P. A. ESPERDY, District Director of the Immigration Service for the District of New York, Respondent-Appellee.
    No. 421.
    Docket 26963.
    United States Court of Appeals Second Circuit.
    Argued June 22, 1961.
    Decided July 6, 1961.
    
      Jules E. Coven, New York City (Abraham Lebenkoff, New York City, on the brief), for relator-appellant.
      Roy Babitt, Sp. Asst. U. S. Atty., S.D. N.Y., New York City (Robert M. Morgenthau, U. S. Atty., New York City, on the brief), for respondent-appellee.
      Before CLARK and SMITH, Circuit Judges, and DAWSON, District Judge.
      PER CURIAM.
    
    
      1
      The relator-appellant concedes the validity of the order for his deportation to Holland as an alien seaman here illegally and attacks only the warrant for his deportation because it does not specify the country to which he is to be sent. The point is not well taken; there is no such requirement and no reason for it, the order itself being complete. Ying v. Kennedy, D.C.Cir., 292 F.2d 740; Kokkosis v. Esperdy, D.C.S.D.N.Y., 191 F. Supp. 765.
    
    
      2
      The order is affirmed and the stay of deportation heretofore granted by this court is dissolved.
    
    